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FEB 2 8 2006 UNITED sTATEs DISTRlcT coUR'r FoR THE

U¢ S. DlST-R|CT COURT

EASTERN DISTRICT OF l\¢IISSOUR.I

EASTERN DISTRICT OF MO EASTERN DIVISION
ST. LO'U|S
ADAM APPEL, et al., )
Plaintiffs, §
vs. § No. 4:050v772 SNL
THE CITY OF ST. LOUIS, et al., §
Defendants. §

VERIFIED MO'I`ION FOR ADIVIISSION PRO HAC VICE

Pursuant to Rule 12 of the local rules of the United States District Court for the Eastem District

of Missouri, I, James G. Felakos, Missouri Bar #56356, move to be admitted pro hac vice to the bar of

this Court for the purpose of representing Plaintiffs in the above-styled matter. In support of this

Motion, l submit the following information as required by Rule 12.01(E):

(a)
(b)

(C)

(d)

(C)

full name of movant/attomey: James George Felakos, Jr.
Address and telephone of the movant/attomey:
45 57 Laclede Avenue
St. Louis, Missouri 63108
(314) 361-2111
O?ax): (314) 361-3635
Ema.il: jim@aclu-em,org
Name of the firm or letterhead under which the movant practices:
American Civil Liberties Union of Eastern Missouri
Name of the law school(s) movant attended and the date(s) of graduation therefrom:
Columbia University School of Law, New York, New York, Juris Doctor, October, 1998

Bars, state and federal, of which the movant is a member, with dates of admission and

registration numbers, if any:

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o Missouri Bar, 10/2005, Bar # 56356

0 New York Bar, 3/2002, Bar # 4045977

0 United States District Court for the Southern District of New York, 12/2002, Bar #
JF6965

o United States District Court for the Eastern District of New York, 12/2002, Bar #
JF6965

(t) Movant, James G. Felakos, is a member in good standing of all bars in which movant is

a member; movant is not under suspension or disbarment from any bar.

(g) While Movant resides in the Eastern District of Missouri, is regularly employed in this
district and is regularly engaged in the practice of law in this district_, this is on a temporary basis.
Movant is moving to New York within the next four months.

Movant attests under penalty of perjury the truth and accuracy of the forego ing facts, and
respectfully requests that this Motion be granted and that the Movant be admitted pro hac vice to the

bar of this Court to appear on behalf of Plaintiffs in the instant matter.

Respectfully submitted,

hines G. Felakos, Mo Bar #56356
American Civil Liberties Union
of Eastern Missouri
4557 Laclede Ave.
St. Louis, MO 63108
(314) 361-3635, ext. 22
FAX: (314) 361-3135

 

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CERTIFICATE OF SERVICE

The foregoing was filed by First Class Mail With the Clerk of the Court to be ed
by operation of the Court’s electronic filing system upon the following this May of February,
2006, t0:

Patricia A. Hageman, City Counselor Erwin O. Switzer, III, Special Chief Counsel
Carl W. Yates III, Associate City Counselor M. Steven Brown, Assistant Attomey General
City Counselor’s Offlce Laclede Gas Building

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